696 F.2d 58
    Mervin M. MOLGAARD and Virginia C. Molgaard, Plaintiffs-Appellants,v.The TOWN OF CALEDONIA, a body corporate;  Steven Horvath,Jr.;  Marcel Dandeneau;  William P. Ruetz;  andRichard P. Granger, Defendants-Appellees.
    No. 82-1069.
    United States Court of Appeals,Seventh Circuit.
    Argued June 3, 1982.Decided Dec. 22, 1982.
    
      Arthur J. Harrington, Charne, Glassner, Tehan, Clancy &amp; Taitelman, Milwaukee, Wis., for plaintiffs-appellants.
      Paul J. Gossens, Strnad &amp; Gossens, Milwaukee, Wis., for defendants-appellees.
      Before CUMMINGS, Chief Judge, BAUER, Circuit Judge, and GRANT, Senior District Judge.*
      PER CURIAM.
    
    
      1
      This is an appeal from a judgment in favor of appellees, the Town of Caledonia, et al., and against appellants, Mervin and Virginia Molgaard, entered in the District Court for the Eastern District of Wisconsin, holding that the appellants did not have a cognizable property interest in the conditionally approved "Mobile Home Park Permit;"  that there was no infringement of any due process right;  that Cal-Oaks Corporation was not a proper party in interest;  that the defendants had not met their burden to establish plaintiffs' waiver or that plaintiffs were estopped to present their claims;  and that the individual defendants were entitled to immunity because of their good faith.  Upon appeal, the Molgaards have raised only the issues of deprivation of property without due process and the good faith defense allowed the individual defendants.
    
    
      2
      After examination of the briefs and careful review of the record, and based upon the oral argument before this Court, we conclude that the district court in its Order thoroughly and carefully analyzed all the issues raised in this appeal.  Accordingly, we AFFIRM the district court's decision and Order entered December 14, 1981 and hereby adopt its opinion published at 527 F.Supp. 1073.
    
    
      
        *
         Honorable Robert A. Grant, Senior District Judge of the United States District Court for the Northern District of Indiana, sitting by designation
      
    
    